                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

                                       NO. 7:16-CV-233-FL

BOBBY JO ROSINBAUM and ROBERT                          )
WILLIAM MORGAN, JR., individually                      )
and on behalf of all similarly situated individuals,   )
                                                       )
               Plaintiffs,                             )
                                                       )      CASE MANAGEMENT
v.                                                     )           ORDER
                                                       )
FLOWERS FOODS, INC. and FRANKLIN                       )
BAKING COMPANY, LLC,                                   )
                                                       )
               Defendants.                             )

       Pursuant to Federal Rule of Civil Procedure 16 and upon request ofthe parties, on August

11, 2016, this court held a telephonic pretrial conference to review the parties' joint Rule 26(f)

Report and Plan, filed August 5, 2015. [DE-68]. At the conference Plaintiffs appeared through

counsel Susan E. Ellingstad, and Defendants appeared through counsel Christopher Humber.

After having heard from the parties and having reviewed the parties' joint report and plan, the

court orders the following:

                                            I. Discovery

        A.     The parties shall have already exchanged the information required by Federal Rule

               of Civil Procedure 26(a)(l).

        B.      Discovery will be necessary on the claims of Plaintiffs and defenses asserted by

                Defendants.

        C.      The parties have agreed that all fact discovery may commence upon entry of the

                Case Management Order.




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D.     All fact discovery shall be commenced or served in time to be completed by May

       31, 2017, or 90 days following the closure of any notice period for putative

       FLSA opt-in plaintiffs, if the court conditionally certifies a collective action,

       whichever is later.

E.     The parties are in the process of negotiating an ESI discovery protocol similar to

       ones used by the parties in similar litigation, which shall reflect agreement on

       particular search terms, the search scope of email, and the number of ESI

       custodians. By August 26, 2016 the parties shall report to the court regarding a

       proposed ESI protocol.

F.     Named plaintiffs, as a whole, and defendants, as a whole, shall each be allowed to

       serve a total of25 interrogatories, including all discrete subparts, to each other.

       Responses are due 45 days after service of those interrogatories.

G.     Named plaintiffs, as a whole, and defendants, as a whole, shall each be allowed to

       serve a total of 50 requests for admissions to each other. Responses are due 45

       days after service of those requests for admissions.

H.     Named plaintiffs, as a whole, and defendants, as a whole, shall each be allowed to

       take a total of 15 depositions.

I.     Each deposition shall be limited to 7 hours, unless otherwise agreed by the parties.

J.     If the court enters an order conditionally certifying an FLSA collective action and

       after the opt-in period has expired, the parties will confer regarding the timing and

       scope of discovery of any additional opt-in plaintiffs that may be necessary and

       will seek guidance from the court if they are unable to reach an agreement on this


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       matter.

K.     Disclosures required by Federal Rule of Civil Procedure 26(a)(2), including

       reports from retained experts, shall be served by Plaintiffs by 30 days after the

       close of fact discovery. Defendants shall serve such disclosures by 30 days after

       Plaintiffs' deadline to disclose expert witnesses. The parties shall serve rebuttal

       expert reports within 30 days after Defendants serve their initial expert reports or

       21 days after the deposition of the proffered expert witness, whichever is later.

       Expert discovery must be completed by 30 days after the parties serve their

       rebuttal expert reports.

L.     The parties shall serve any objections to such disclosures, other than objections

       pursuant to Federal Rules of Evidence 702, 703, or 705, Daubert v. Merrell Dow

       Pharmaceuticals, Inc., 509 U.S. 579 (1993), Kumho Tire Co. v. Carmichael, 526

       U.S. 137 (1999) or similar case law, within 14 days after service ofthe

       disclosures upon them. These objections should be confined to technical

       objections related to the sufficiency of the written expert disclosures (e.g.,

       whether all of the information required by Rule 26(a)(2) has been provided, such

        as lists of prior testimony and publications). These objections need not extend to

       the admissibility of the expert's proposed testimony. If such technical objections

        are served, counsel shall confer or make a reasonable effort to confer before filing

        any motion based on those objections.

M.      Supplementations of disclosures under Federal Rule of Civil Procedure 26(e) shall

        be served at such times and under such circumstances as required by that rule. In


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       addition, such supplemental disclosures shall be served by 40 days before the

       deadline for completion of all discovery. The supplemental disclosures served

       40 days before the deadline for completion of all discovery must identify the

       universe of all witnesses and exhibits that probably or even might be used at trial

       other than solely for impeachment. The rationale for the mandatory supplemental

       disclosures 40 days before the discovery deadline is to put opposing counsel in a

       realistic position to make strategic, tactical, and economic judgments about

       whether to take a particular deposition (or pursue follow-up "written" discovery)

       concerning a witness or exhibit disclosed by another party before the time allowed

       for discovery expires. Counsel should bear in mind that seldom should anything

       be included in the final Rule 26(a)(3) pretrial disclosures that has not previously

       appeared in the initial Rule 26(a)(l) disclosures or a timely Rule 26(e) supplement

       thereto; otherwise, the witness or exhibit probably will be excluded at trial. See

       Fed. R. Civ. P. 37(c)(l).

N.     To avoid the filing of unnecessary motions, the court encourages the parties to

       utilize stipulations regarding discovery procedures. However, this does not apply

       to extensions of time that interfere with the deadlines to complete all discovery,

        for the briefing or hearing of a motion, or for trial. See Fed. R. Civ. P. 29. Nor

        does this apply to modifying the requirements of Federal Rule of Civil Procedure

        26(a)(2) concerning experts' reports.

0.      Discovery in this case may be governed by a protective order. If the parties

        disagree concerning the need for, and/or the scope or form of, a protective order,


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  the party or parties seeking such an order shall file an appropriate motion and

  supporting memorandum. If the parties agree concerning the need for and scope

  and form of a protective order, their counsel shall confer and then submit a jointly

  proposed protective order as soon as is practicable.

   1.    A jointly proposed protective order shall include, in the first paragraph, a

         concise but sufficiently specific recitation of the particular facts in this

         case that would provide the court with an adequate basis upon which to

         make the required finding of good cause for issuance of the protective

         order pursuant to Federal Rule of Civil Procedure 26(c).

  2.     Any proposed protective order shall set out the procedure for filing under

         seal confidential documents, things, and/or information, pursuant to the

         requirements of Stone v. University of Maryland Medical System Corp.,

         855 F.2d 178, 180-181 (4th Cir. 1988). Specifically, a proposed protective

         order shall include the following language: '"Each time a party seeks to file

         under seal confidential documents, things, and/or information, said party

         shall accompany the request with a motion to seal and a supporting

         memorandum of law specifying (a) the exact documents, things, and/or

         information, or portions thereof, for which filing under seal is requested;

         (b) where it is necessary for the court to determine the source of the

         public's right to access before a request to seal may be evaluated, whether

         any such request to seal seeks to overcome the common law or the First

         Amendment presumption to access; (c) the specific qualities of the


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        material at issue which justifY sealing such material, taking into account

        the balance of competing interests in access; (d) the reasons why

        alternatives to sealing are inadequate; and, (e) whether there is consent to

        the motion. Finally, in addition to the motion and supporting

        memorandum, said party must set out such findings in a proposed order to

        seal for the court."

  3.    Before ruling on any motion to seal the court will give the public notice of

        the motion and a reasonable opportunity to challenge it. While individual

        notice is unwarranted, the court will docket the motion reasonably in

        advance of deciding the issue, or, where applicable, the court will notifY

        persons present in courtroom proceedings of the motion. The court will

        rule favorably upon any motion to seal only after carefully weighing the

        interest advanced by the movant and those interests favoring public access

        to judicial documents and records, and only upon finding that the interests

        advanced by the movant override any constitutional or common law right

        of public access which may attach to the documents, things, and/or

        information at issue.

  4.    The parties are directed to Section T of the court's Electronic Case Filing

        Administrative Policies and Procedures Manual, available online at

        http://www .need. uscourts.gov/pdfs/cmecfPolicyManual. pdf, for

         information regarding how to file and serve sealed documents through the

         court's Case Management I Electronic Case Filing system ("CM/ECF").


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                                   II. Motions

A.     Defendants shall file their response to Plaintiffs' motion for conditional

       certification under 29 U.S.C. § 216(b) within 45 days ofthe entry ofthis Case

       Management Order; Plaintiffs may file their reply brief within 21 days after filing

       of Defendants' response.

B.     Any motion requesting relief shall be accompanied at time of filing with a

       proposed form of order, stating its requested relief.

C.     Any motion for leave to join additional parties shall be filed by 90 days after the

       close of the opt-in period if this Court grants conditional certification of the FLSA

       collective action, or 90 days after this Court denies the plaintiffs' Motion for

       Conditional Certification. Any motion for leave to amend the pleadings shall be

       filed by 120 days after the close of the opt-in period if this Court grants

       conditional certification of the FLSA collective action, or 120 days after this

       Court denies the plaintiffs' Motion for Conditional Certification.

D.     Any motion to compel discovery shall be filed and served within 30 days of the

       act or omission in discovery complained of, after good faith effort between the

       parties to resolve the matter, unless the time for filing such a motion is extended

       for good cause shown. Prior to any filing, the complaining party shall convene a

       conference among the parties and this court by telephone through the office of the

       case manager, at (252) 638-8534. In the event of a discovery dispute of or relating

       to written discovery, the party convening the conference shall send via facsimile

       transmittal directed to the case manager at (252) 638-1529, the submissions in


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        discovery most directly bearing on the particular dispute, for the court's review in

        advance of telephonic conference. Motions to compel filed after the deadline

        and/or without advance conference with the court, absent extenuating

        circumstances, summarily will be denied. Disputes in discovery which are reduced

        to writing, timely filed, and where conference with this court in advance of filing

        has been unable to resolve said dispute, ordinarily will be referred to a magistrate

       judge for ruling.

E.      Any motion to continue must conform with the requirements set forth in Local

        Civil Rule 6.1, and also include a detailed statement as to the reason for the

        requested continuance or extension of time together with the proposed order.

        Continuances will be granted only upon showing of good cause, particularly

        focusing upon the evidence of diligence by the party seeking delay and of

        prejudice that may result if the continuance is denied.

F.      Plaintiffs' motion for Rule 23 class certification and Defendants' motion for

        decertification of any conditionally-certified FLSA collective action shall be filed

        within 60 days after the close of discovery or 90 days after the close of the FLSA

        notice period, whichever is later.

G.      All potentially dispositive motions shall be filed by 45 days after the court rules

        on Plaintiffs' Rule 23 class certification motion. All motions to exclude

        testimony of expert witnesses pursuant to Federal Rules of Evidence 702, 703, or

        705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), Kumho

        Tire Co. v. Carmichael, 526 U.S. 137 (1999), or similar case law, shall be filed by


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               the deadline set for dispositive motions.

                          III. Alternative Dispute Resolution ("ADR")

       A.      A settlement procedure is required in virtually every case, to be conducted before

               the close of discovery if the case is automatically selected for mediation pursuant

               to Local Alternative Dispute Rule 101.1 a(b ), or before the final pretrial

               conference if not automatically selected.

       B.      This case has been automatically selected for mediation. Reference is made to

               Local Alternative Dispute Rule 101.1 et seq. for required deadlines.

       C.      If at any time a settlement is reached, it shall be reported immediately to this

               court. The parties shall refer to Local Alternative Dispute Rule 10 1.1 e for their

               specific obligations.

                                IV. Pretrial and Trial Scheduling

       After the court has ruled on any dispositive motion(s), the court will enter a scheduling

order governing deadlines and procedures for final pretrial conference and trial, as appropriate.

       This case management order shall not be modified except by leave of court upon a

showing of good cause, and all requirements set forth in the court's Local Civil Rules governing

pretrial and trial procedures not altered herein shall be strictly observed.

        SO ORDERED the 19th day of August 2016.




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                                               United States Magistrate Judge




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